       Case 25-30155 Document 145 Filed in TXSB on 06/22/25 Page 1 of 6
                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                          June 20, 2025
        IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                                                   Nathan Ochsner, Clerk
                  SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

  IN RE:                                            §      CASE NO. 25-30155
                                                    §
  ALLIANCE FARM AND RANCH, LLC,                     §      (CHAPTER 11)
                                                    §
         DEBTOR                                     §
                                                    §
  IN RE:                                            §      CASE NO. 25-31937
                                                    §
  ALLIANCE ENERGY PARTNERS, LLC,                    §      (CHAPTER 11)
                                                    §
         DEBTOR                                     §
                                                    §


                   STIPULATION AND AGREED ORDER
           EXTENDING THE OBJECTION DEADLINE REGARDING
      APPLICATION FOR APPROVAL OF EMPLOYMENT OF OKIN ADAMS
          BARTLETT CURRY, LLP AS COUNSEL FOR DEBTORS AND
       APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF
     EXPENSES FOR THE PERIODS MARCH 14, 2025 THROUGH MAY 23, 2025
      (ALLIANCE FARM AND RANCH, LLC) AND APRIL 7, 2025 THROUGH
            MAY 23, 2025 (ALLIANCE ENERGY PARTNERS, LLC)
                           [Related to Doc No. 130]

       This Stipulation (“Stipulation”) is entered into by (a) Tom A. Howley in his capacity as the

chapter 11 trustee (the “Trustee”) in the above-numbered and styled bankruptcy proceedings; and

(b) Okin Adams Bartlett Curry, LLP (“Okin Adams”) (together the “Parties”). The Parties hereby

stipulate and agree as follows:

       WHEREAS, the Trustee was appointed on May 27, 2025 at Docket No. 115.

       WHEREAS, on June 4, 2025 Okin Adams f iled its Application for Approval of

Employment of Okin Adams Bartlett Curry, LLP as Counsel for Debtors and Application for

Compensation and Reimbursement of Expenses for the Periods March 14, 2025 Through May 23,

2025 (Alliance Farm and Ranch, LLC) and April 7, 2025 Through May 23, 2025 (Alliance Energy

Partners, LLC) (the “Application”).


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Dated: June 18, 2025

/s/ Eric Terry
Eric Terry
Texas Bar No. 00794729
HOWLEY LAW PLLC
TC Energy Center
700 Louisiana St., Suite 4545
Houston, Texas 77002
Telephone: 713-333-9125
Email: eric@howley-law.com

Proposed Counsel for Tom A. Howley –
Trustee

- and -

OKIN ADAMS BARTLETT CURRY
LLP
/s/ Timothy L. Wentworth
Timothy L. Wentworth
Texas Bar No. 21179000
Email: twentworth@okinadams.com
1113 Vine Street, Suite 240
Houston, Texas 77002
Telephone: 713.228.4100
Facsimile: 346.247.7158

Proposed Attorneys for the Debtor



                                CERTIFICATE OF SERVICE

        I certify that on June 18, 2025, I caused a copy of the foregoing document to be served by
electronic transmission to all registered ECF users appearing in these cases.

                                          /s/ Eric Terry
                                          Eric Terry




                                                1
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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 25-30155-arp
ALLIANCE FARM AND RANCH, LLC                                                                                           Chapter 11
Alliance Energy Partners, LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 3
Date Rcvd: Jun 20, 2025                                               Form ID: pdf002                                                            Total Noticed: 6
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 22, 2025:
Recip ID                   Recipient Name and Address
db                     +   ALLIANCE FARM AND RANCH, LLC, 5450 Honea Egypt Rd, Montgomery, TX 77316-2364
jdb                    +   Alliance Energy Partners, LLC, 20008 Champions Forest Dr., Suite 1203, Spring, TX 77379-8697
aty                    +   Eric Terry, Howley Law PLLC, 700 Louisiana Street, Ste 4545, Houston, TX 77002, UNITED STATES 77002-2869
cr                     +   Jerod P Furr, 259 Saddle Ridge, Spring, TX 77380-2748
cr                     +   Patriot Drilling Services LLC, c/o William R. Sudela, Crady Jewett McCulley & Houren LLP, 2727 Allen Parkway, Suite 1700, Houston,
                           TX 77019-2125

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
cr                         Email/Text: lloyd.lim@keanmiller.com
                                                                                        Jun 20 2025 21:40:00      DrilTech, LLC, C/O Rachel Kubanda, 711
                                                                                                                  Louisiana Street, Suite 1800, Houston, TX 77002

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
aty                            Okin Adams Bartlett Curry LLP
cr                             Dustin Etter
intp                           Erik and Darla Ostrander
cr                             KLEIN INDEPENDENT SCHOOL DISTRICT
crcm                           Official Committee of Unsecured Creditors

TOTAL: 5 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 22, 2025                                            Signature:           /s/Gustava Winters
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District/off: 0541-4                                              User: ADIuser                                                          Page 2 of 3
Date Rcvd: Jun 20, 2025                                           Form ID: pdf002                                                       Total Noticed: 6



                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 20, 2025 at the address(es) listed below:
Name                             Email Address
Abdiel Lopez-Castro
                                 on behalf of Creditor Dustin Etter alopezcastro@hwa.com

Branch Masterson Sheppard
                                 on behalf of Defendant Jeana Lea Hurley bsheppard@mcglinchey.com sdeleon@gallowaylawfirm.com

Branch Masterson Sheppard
                                 on behalf of Defendant Connect Realty.com Inc. bsheppard@mcglinchey.com, sdeleon@gallowaylawfirm.com

Branch Masterson Sheppard
                                 on behalf of Defendant Heaven Lee Properties LLC bsheppard@mcglinchey.com, sdeleon@gallowaylawfirm.com

Deborah Louise Crain
                                 on behalf of Defendant Alliance Energy Partners LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant AE Partners Holdings Inc. shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant ALLIANCE FARM AND RANCH LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant AEP Asset Holdings LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant Jerod P Furr shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Debtor ALLIANCE FARM AND RANCH LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant Invictus Drilling Motors LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant Corina Furr shannon@e-merger.law

Ha Minh Nguyen
                                 on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Heather Heath McIntyre
                                 on behalf of Creditor Dustin Etter HMcIntyre@hwallp.com dek@hwallp.com;lslater@hwa.com

James Randal Bays
                                 on behalf of Defendant AE Partners Holdings Inc. randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant Alliance Energy Partners LLC randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant ALLIANCE FARM AND RANCH LLC randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant AEP Asset Holdings LLC randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant Jerod P Furr randy@baysfirm.com Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant Invictus Drilling Motors LLC randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant Corina Furr randy@baysfirm.com Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

Justin William Randall Renshaw
                                 on behalf of Creditor IAE International Inc justin@renshaw-law.com, kim@renshaw-law.com

Leonard H Simon
                                 on behalf of Creditor Jerod P Furr lsimon@pendergraftsimon.com
                                 csanchez@pendergraftsimon.com;jdavila@pendergraftsimon.com;rlp@pendergraftsimon.com
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District/off: 0541-4                                         User: ADIuser                                                            Page 3 of 3
Date Rcvd: Jun 20, 2025                                      Form ID: pdf002                                                         Total Noticed: 6
Leonard H Simon
                            on behalf of Defendant Jerod P Furr lsimon@pendergraftsimon.com
                            csanchez@pendergraftsimon.com;jdavila@pendergraftsimon.com;rlp@pendergraftsimon.com

Melissa E Valdez
                            on behalf of Creditor KLEIN INDEPENDENT SCHOOL DISTRICT mvaldez@pbfcm.com
                            mvaldez@ecf.courtdrive.com;arandermann@pbfcm.com

Nicholas Zugaro
                            on behalf of Creditor Committee Official Committee of Unsecured Creditors Nzugaro@dykema.com
                            DocketHOU@dykema.com;ccastic@dykema.com

Noah E Meek
                            on behalf of Plaintiff Dustin Etter nmeek@irelanlaw.com nperez@irelanlaw.com;scartwright@irelanlaw.com

Noah E Meek
                            on behalf of Interested Party Dustin Etter nmeek@irelanlaw.com nperez@irelanlaw.com;scartwright@irelanlaw.com

Noah E Meek
                            on behalf of Creditor Dustin Etter nmeek@irelanlaw.com nperez@irelanlaw.com;scartwright@irelanlaw.com

Rachel Kubanda
                            on behalf of Creditor DrilTech LLC rachel.kubanda@keanmiller.com,
                            michelle.friery@keanmiller.com;kristina.tipton@keanmiller.com;teresa.miller@keanmiller.com

Reagan H. Tres Gibbs, III
                            on behalf of Interested Party Erik and Darla Ostrander tgibbs@cokinoslaw.com kwaller@cokinoslaw.com

Samuel Thomas Pendergast
                            on behalf of Interested Party Erik and Darla Ostrander spendergast@cokinoslaw.com jgraffagnino@cokinoslaw.com

Sara Aniece Morton
                            on behalf of Defendant Jeana Lea Hurley smorton@rmjelaw.com

Sara Aniece Morton
                            on behalf of Defendant Connect Realty.com Inc. smorton@rmjelaw.com

Sara Aniece Morton
                            on behalf of Defendant Heaven Lee Properties LLC smorton@rmjelaw.com

Thomas A Howley
                            on behalf of Trustee Thomas A Howley tom@howley-law.com thowley@ecf.axosfs.com

Thomas A Howley
                            on behalf of Attorney Eric Terry tom@howley-law.com thowley@ecf.axosfs.com

Thomas A Howley
                            on behalf of Trustee Tom Howley tom@howley-law.com roland@howley-law.com;eric@howley-law.com

Thomas A Howley
                            tom@howley-law.com thowley@ecf.axosfs.com

Timothy L. Wentworth
                            on behalf of Joint Debtor Alliance Energy Partners LLC twentworth@okinadams.com,
                            sgonzales@okinadams.com;nhollon@okinadams.com

Timothy L. Wentworth
                            on behalf of Attorney Okin Adams Bartlett Curry LLP twentworth@okinadams.com
                            sgonzales@okinadams.com;nhollon@okinadams.com

Timothy L. Wentworth
                            on behalf of Debtor ALLIANCE FARM AND RANCH LLC twentworth@okinadams.com,
                            sgonzales@okinadams.com;nhollon@okinadams.com

Timothy L. Wentworth
                            on behalf of Debtor Alliance Energy Partners LLC twentworth@okinadams.com,
                            sgonzales@okinadams.com;nhollon@okinadams.com

US Trustee
                            USTPRegion07.HU.ECF@USDOJ.GOV

William James Hotze
                            on behalf of Creditor Committee Official Committee of Unsecured Creditors whotze@dykema.com

William R Sudela
                            on behalf of Creditor Patriot Drilling Services LLC wsudela@cjmhlaw.com


TOTAL: 46
